Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 1 of 24 Page
                                  ID #:181110




                         EXHIBIT 2
Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 2 of 24 Page
                                   ID #:181111

                                                                           1


  1

  2

  3

  4                           UNITED STATES DISTRICT COURT

  5                          CENTRAL DISTRICT OF CALIFORNIA

  6                                  SOUTHERN DIVISION

  7                                        - - -

  8            THE HONORABLE JAMES V. SELNA, JUDGE PRESIDING

  9
                 MASIMO CORPORATION, et al.,   )CERTIFIED TRANSCRIPT
 10                                Plaintiffs, )
                    vs.                        )
 11                                            ) SACV-18-02001-JVS
                 TRUE WEARABLES, INC., et al., )
 12                                Defendants. )
                 ------------------------------)
 13

 14

 15                REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16                           Santa Ana, California

 17                             December 20, 2021

 18

 19                                 SHARON A. SEFFENS, RPR
                                    United States Courthouse
 20                                 411 West 4th Street, Suite 1-1053
                                    Santa Ana, CA 92701
 21                                 (714) 543-0870

 22

 23

 24

 25

               SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                               Exhibit 2
                                                                                    -4 -
Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 3 of 24 Page
                                  ID #:181112

                                                                          2


  1    APPEARANCES OF COUNSEL:

  2    For the Plaintiffs:

  3    JOSEPH R. RE
       STEPHEN C. JENSEN
  4    BRIAN CHRISTOPHER CLAASEN
       KNOBBE MARTENS OLSON & BEAR, LLP
  5    2040 Main Street, 14th Floor
       Irvine, CA 92614
  6    (949) 760-0404

  7    For the Defendants:

  8    PETER A. GERGELY
       MERCHANT & GOULD, PC
  9    767 Third Avenue, Suite 23C
       New York, NY 10017
 10    (212) 223-6520

 11    RYAN J. FLETCHER
       MERCHANT & GOULD, PC
 12    1801 California Street, Suite 3300
       Denver, CO 80202
 13    (303) 357-1670

 14    SCOTT P. SHAW
       MERCHANT & GOULD, PC
 15    611 Wilshire Boulevard, Suite 808
       Los Angeles, CA 90017
 16    (303) 357-1670

 17

 18

 19

 20

 21

 22

 23

 24

 25

               SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                              Exhibit 2
                                                                                   -5 -
        Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 4 of 24 Page
                                          ID #:181113

                                                                                   3


          1    SANTA ANA, CALIFORNIA; MONDAY, DECEMBER 20, 2021; 10:07 A.M.

          2                (Proceedings held via Zoom)

10:07     3                THE CLERK:    Calling Item No. 1, SACV-18-02001-JVS,

10:07     4    Masimo Corporation, et al, versus True Wearables, Inc., et

10:07     5    al.

10:07     6                Counsel, please state your appearances for the

10:07     7    record.20

10:07     8                MR. RE:   Good morning, Your Honor.           For the

10:07     9    plaintiffs Masimo and Cercacor, Joseph Re from Knobbe

10:07    10    Martens, and with me in this conference room are my partners

10:08    11    Stephen Jensen, Brian Claassen, and Mark Kachner.

10:08    12                THE COURT:    Good morning.

10:08    13                MR. GERGELY:    Good morning, Your Honor.         For the

10:08    14    defendants, Peter Gergely, Ryan Fletcher, and Scott Shaw of

10:08    15    Merchant & Gould PC.

10:08    16                THE COURT:    Good morning.

10:08    17                I have had a chance to review and to consider the

10:08    18    parties' briefs on the issue before me, that Masimo has

10:08    19    effectively waived its right to a jury trial.

10:08    20                Mr. Gergely, I have a couple of questions for you.

10:08    21    Suppose a plaintiff files what's simply a one patent

10:09    22    infringement action, and all the plaintiff asks for is

10:09    23    injunctive relief, but also files a request for a jury

10:09    24    trial.   Assume you are the defendant.         Do you have a right

10:09    25    to a jury trial?

                        SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                            -6 -
        Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 5 of 24 Page
                                          ID #:181114

                                                                                    4


10:09     1                THE COURT:    Sir, can you hear me?

10:09     2                MR. GERGELY:    Your Honor, are you addressing me?

10:09     3    The audio quality is really bad.         Are you asking for

10:09     4    argument on whether the defendants have a right to a jury

10:09     5    trial?

10:09     6                THE COURT:    No.   I am asking you a very specific

10:09     7    question.    In my hypothetical, plaintiff files a patent

10:09     8    infringement action and seeks only injunctive relief but

10:09     9    requires a Rule 38 request for a jury trial.              Does the

10:09    10    defendant have a right to a jury trial?

10:09    11                MR. GERGELY:    In that hypothetical as opposed to a

10:10    12    single claim for patent infringement seeking only injunctive

10:10    13    relief?

10:10    14                THE COURT:    Right, but the plaintiff also files a

10:10    15    request for a jury demand.       With those facts, does the

10:10    16    defendant have a right to a jury?

10:10    17                MR. GERGELY:    If the plaintiff files a jury demand

10:10    18    in a patent infringement case, I believe so.

10:10    19                THE COURT:    Let me make sure you understand the

10:10    20    facts I'm positing.      One, a patent infringement action is

10:10    21    filed; two, the only relief sought is an injunction; and,

10:10    22    three, notwithstanding seeking only an injunction, plaintiff

10:10    23    files a request for a jury demand.         Does the defendant have

10:10    24    a right to a jury?

10:10    25                MR. GERGELY:    I think in that hypothetical I would

                        SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                        Exhibit 2
                                                                                             -7 -
        Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 6 of 24 Page
                                          ID #:181115

                                                                                  5


10:10     1    say no.

10:11     2                THE COURT:    Okay.   The next question is would you

10:11     3    agree that disgorgement and damages can overlap, but they

10:11     4    can also be separate elements or partially overlapping?

10:11     5                MR. GERGELY:    I think they possibly can, but I'm

10:11     6    not certain in what exact context Your Honor is asking the

10:11     7    question.

10:11     8                THE COURT:    Let me give you this hypothetical.

10:11     9    Company A sues for patent infringement.           Company A has lost

10:11    10    profits as a result of the diversion of $100, but defendant

10:12    11    having exploited the patent has earned $1,000 in sales.

10:12    12    Suppose, one, on those facts, would you agree that damages

10:12    13    and disgorgement can be two separate things?

10:12    14                MR. GERGELY:    Your Honor, within the context of a

10:12    15    patent infringement case, I believe that there are generally

10:12    16    three types of damages available.         It would be --

10:12    17                THE COURT:    Sir, stop, stop, stop.

10:12    18                MR. GERGELY:    I'm not aware of disgorgement simply

10:12    19    in the context of a patent infringement case.

10:12    20                THE COURT:    How about a trade secret case, same

10:12    21    facts but a trade secret case?       Plaintiff is a very strong

10:12    22    company, and the diversion that they sustain is relatively

10:12    23    modest, but they are out $100 in lost profits.             Can diverted

10:13    24    sales be based on trade secrets, that defendant using the

10:13    25    trade secrets makes $1,000 in sales?          Under those facts,

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                      Exhibit 2
                                                                                           -8 -
        Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 7 of 24 Page
                                          ID #:181116

                                                                                  6


10:13     1    aren't disgorgement and damages separate?

10:13     2               MR. GERGELY:     Your Honor, in that precise

10:13     3    hypothetical that you posited, I would agree that the

10:13     4    plaintiff's lost profits of $100 and defendant's sales of

10:13     5    $1,000 would be different.       But in a trade secret case, I

10:13     6    believe what you are entitled to would be either lost

10:13     7    profits or unjust enrichment, or in the absence of those,

10:14     8    you could get a default reasonable royalty.

10:14     9               THE COURT:     Well, doesn't the statute say

10:14    10    something different?      Doesn't the statute -- the California

10:14    11    Uniform Trade Secret Act say that to the extent unjust

10:14    12    enrichment can be segregated out from any lost profits, you

10:14    13    are entitled to unjust enrichment?         Isn't that what 3426

10:14    14    says?

10:14    15               MR. GERGELY:     Your Honor, I agree that -- I

10:14    16    believe you are summarizing the statute accurately.             What I

10:14    17    am saying is in the absence of those two categories the

10:14    18    default would be a reasonable royalty.          Within the context

10:14    19    of this case, the plaintiffs aren't seeking either of the

10:15    20    first two categories.      They are not seeking profits.          They

10:15    21    said that in their pleadings.       They said that they are not

10:15    22    seeking -- I'm sorry.      They are not seeking defendants'

10:15    23    profits nor are they seeking their own profits.             What they

10:15    24    are seeking is something called enterprise value of up to a

10:15    25    $12 million to $14 million claim.

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                        Exhibit 2
                                                                                             -9 -
        Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 8 of 24 Page
                                          ID #:181117

                                                                                   7


10:15     1               I'm not aware of any case in California or

10:15     2    elsewhere that would award those types of damages in a trade

10:15     3    secret case.    It just seems to be sort of a free-wheeling

10:15     4    category of damages that is not recognized in the law.

10:15     5               My issue is that if it's unclear what type of

10:15     6    relief the plaintiff is seeking, the presumption is there is

10:15     7    a presumed right to a jury trial.         What they are seeking is

10:15     8    damages in the form of a personal judgment against the

10:15     9    defendants.    They are not seeking to disgorge any particular

10:16    10    property or profits from the defendants, and that's been

10:16    11    clearly admitted.     They are not seeking to disgorge

10:16    12    defendants' profits, so what is it?         It's essentially a

10:16    13    claim for damages.

10:16    14               THE COURT:     Well, what plaintiff has announced is

10:16    15    it only wishes to proceed on a disgorgement theory.             A

10:16    16    disgorgement theory is clearly equitable relief.             Now, if

10:16    17    plaintiff announces that it's going to proceed on that

10:16    18    theory, it will be bound by what you can in fact recover

10:16    19    under that equitable claim.

10:16    20               Now, it's entirely possible that plaintiff will

10:16    21    come forward with a monetary calculation that's sufficient

10:16    22    as a matter of disgorgement and in fact reflects your theory

10:16    23    simply as an alternative to lost profits or some other --

10:16    24    but my point is I think that the plaintiff is entitled to

10:16    25    announce it's only going to pursue an equitable recovery,

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -10 -
        Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 9 of 24 Page
                                          ID #:181118

                                                                                  8


10:17     1    and if it fails, it fails.

10:17     2                MR. GERGELY:    Your Honor, I was trying to figure

10:17     3    out whether the procedure the plaintiffs are following has

10:17     4    ever really been done before.       It's really unusual for me to

10:17     5    proceed for three years in a case assuming it's going to be

10:17     6    simply a claim for damages, including a jury trial, and then

10:17     7    at the eleventh hour, they recharacterize it.

10:17     8                Actually, I did find a case where something

10:17     9    similar to this happened.      It was tendered to the Court

10:17    10    before this hearing.      It's Sonner v. Premier Nutrition

10:17    11    Corporation where the plaintiff basically said we are not

10:17    12    going to be pursuing our legal damages claim anymore.              We

10:17    13    are just going to be pursuing equitable restitution.              And

10:18    14    the Court said before he would allow that to proceed they

10:18    15    would have to establish that they don't have an adequate

10:18    16    remedy at law.

10:18    17                I think that case is particularly apt here because

10:18    18    the same thing is going on.       We have all proceeded on the

10:18    19    assumption that this was going to be a jury trial for three

10:18    20    years.   Then at the last minute they change everything.               We

10:18    21    haven't had the opportunity to do any motion practice on

10:18    22    what essentially is a new Complaint, really no discovery

10:18    23    into the equitable issues, no Motion for Summary Judgment,

10:18    24    no investigation or briefing on this very important issue of

10:18    25    lack of an equitable remedy at law, which the Sonner case

                        SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -11 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 10 of 24
                                       Page ID #:181119

                                                                                  9


10:18   1    said is critical.        So really what they are doing is they are

10:18   2    recharacterizing everything at the last second.

10:18   3                I think what would be appropriate is for the

10:18   4    plaintiffs to actually file a new Complaint that we could

10:19   5    actually investigate and respond to in the ordinary course

10:19   6    and not deal with the it at the last minute because really

10:19   7    the pleadings haven't changed.

10:19   8                Your Honor, I appreciate what you are saying if

10:19   9    the plaintiffs at some point can come up with some theory as

10:19   10   to unjust enrichment.       But we are about a month out before

10:19   11   trial, and this is just too little too late, and it's not

10:19   12   fair to my client to investigate a new theory on the fly.

10:19   13               THE COURT:     Well, sir, the monetary loss that they

10:19   14   seek to recover is covered in their expert reports.               They

10:19   15   are going to offer the same evidence they might have

10:19   16   introduced under other theories, but the record is closed in

10:19   17   terms of expert evidence that would support any monetary

10:19   18   calculation, true?

10:19   19               MR. GERGELY:     The record is closed, correct, but

10:20   20   what we didn't appreciate or have an opportunity to

10:20   21   investigate or really attack with any kind of motion

10:20   22   practice was this idea that this was going to be a purely

10:20   23   equitable claim.     They called this claim damages for the

10:20   24   past three years.        That's what their expert called it.

10:20   25   That really changes the complexion of the case.               My client

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -12 -
         Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 11 of 24
                                      Page ID #:181120

                                                                                10


10:20   1    you should have an opportunity to attack that in motion

10:20   2    practice and discovery.

10:20   3                Lack of an adequate remedy at law is an absolute

10:20   4    defense to an equitable claim, but we have been proceeding

10:20   5    on the theory that these are legal damages as they have

10:20   6    characterized it throughout the case and as their expert

10:20   7    characterized it.

10:20   8                THE COURT:    Sir, are there any other points you

10:20   9    would like to make?

10:21   10               MR. GERGELY:    Well, I think that fairly addresses

10:21   11   the trade secret issue.       Again, there is no theory under

10:21   12   California law or anywhere else for that matter that would

10:21   13   allow a plaintiff to seek the entire value of the company as

10:21   14   a remedy for trade secret misappropriation.            The traditional

10:21   15   theory is an accounting for profits, which they are not

10:21   16   seeking here.

10:21   17               I think really what they would be entitled to, if

10:21   18   anything, in terms of money damages would be a reasonable

10:21   19   royalty, not this enterprise value.          So really what we are

10:21   20   dealing with here is in fact a new claim.

10:21   21               With respect to breach of fiduciary duty, one of

10:21   22   the cases cited in our brief, DePinto versus Provident

10:21   23   Security Life Insurance Company, 323 F.2d 826, at page 837,

10:22   24   a Ninth Circuit case, says:       "We hold that where a claim of

10:22   25   breach of fiduciary duty is predicated upon underlying

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                     Exhibit 2
                                                                                         -13 -
         Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 12 of 24
                                      Page ID #:181121

                                                                                11


10:22   1    conduct, such as negligence, which is actionable in a direct

10:22   2    suit at common law, the issue of whether there has been a

10:22   3    breach is, subject to an appropriate instruction, a jury

10:22   4    question."

10:22   5                That's exactly what the plaintiff is seeking here.

10:22   6    In their pretrial submission, they are advocating              a

10:22   7    negligence theory in support of their breach of fiduciary

10:22   8    duty claim.    We think that's squarely a jury question.

10:22   9                They have also -- they tried to -- again, this is

10:22   10   another instance where they are trying to change their

10:22   11   theory at the last minute.       Their expert posited a damages

10:22   12   theory where he said that Cercacor was entitled to recover

10:22   13   its research and development expenses as well as labor

10:22   14   expenses as a form of damages, which he said in his

10:22   15   deposition he was trying to quantify the harm to Cercacor.

10:23   16   That's just a classic legal damages theory.

10:23   17               Now, I see in their papers they are saying, well,

10:23   18   we are just pursuing the compensation of Dr. Lamego.               Well,

10:23   19   that's just basically a narrow version of their damages

10:23   20   claim.   If they paid him compensation and they are seeking

10:23   21   to get that compensation back, that's the same thing as the

10:23   22   labor expense they were trying to get back before, which

10:23   23   they said was the harm to Cercacor.          So it's still a damages

10:23   24   theory, and it's still legal.

10:23   25               Also, on that point, their expert was the person

                      SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                     Exhibit 2
                                                                                         -14 -
         Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 13 of 24
                                      Page ID #:181122

                                                                                12


10:23   1    who was designated to testify on damages.           There's basically

10:23   2    been no expert designated by the plaintiffs to testify on

10:23   3    damages with respect to breach of fiduciary duty in their

10:23   4    initial disclosures.      Instead, when we were seeking that

10:24   5    information, they pointed towards their expert who said,

10:24   6    well, we will give you a computation of damages through our

10:24   7    expert.    Now they are saying that they are not relying on

10:24   8    their expert.

10:24   9                Well, it's not even clear who is going to be

10:24   10   testifying on this, and we haven't disclosed witnesses on

10:24   11   this issue.    So, again, it's the same thing.          It's the

10:24   12   eleventh hour.     We haven't had precise discovery on the

10:24   13   damages theory, which now they are saying it's going to be

10:24   14   for compensation to Lamego.

10:24   15               Again, the Sonner case is on all fours from the

10:24   16   Ninth Circuit, which is if they are really saying that they

10:24   17   are pursuing an equitable claim for monetary relief against

10:24   18   Lamego, that sort of begs the question.           Are they even

10:24   19   entitled to do that without showing a loss of an adequate

10:25   20   remedy at law?

10:25   21               That sort of takes us back to square one, which is

10:25   22   my client attack should have the right to attack this new

10:25   23   pleading, attack it in discovery, file a Motion for Summary

10:25   24   Judgment.    It's too little too late.        They shouldn't be able

10:25   25   to do it at the last minute.       That's the problem with this

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                     Exhibit 2
                                                                                         -15 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 14 of 24
                                       Page ID #:181123

                                                                                 13


10:25   1    case.    They are trying to have their cake and eat it, too.

10:25   2    They are trying to file this case as just equitable, but yet

10:25   3    they can't seem to let go of all these monetary claims,

10:25   4    which we are think are legal in nature.            Even if they are

10:25   5    recharacterizing it as equitable, they haven't shown that

10:25   6    they don't have an adequate remedy at law, which the Ninth

10:25   7    Circuit says you have to do in order to proceed on those

10:25   8    types of equitable claims.

10:25   9                THE COURT:     Thank you.

10:25   10               Mr. Re.

10:25   11               MR. RE:      Your Honor, you are absolutely right.           We

10:25   12   waive any legal claims.        If they are legal, don't give them

10:25   13   to us.   That can be determined at the end of the case as we

10:26   14   explained.    But it doesn't suggest a right to trial by jury.

10:26   15               Second of all, Sonner is not applicable.             Sonner

10:26   16   is a diversity case where the plaintiff sought the exact

10:26   17   same number and just changed the theory under the common law

10:26   18   count saying federal common law applies.            As the Court

10:26   19   noted, the trade secret statute specifically authorizes

10:26   20   unjust enrichment.

10:26   21               Also, we have always maintained our equitable

10:26   22   theories and equitable relief.         Mr. Gergely is not correct.

10:26   23   He needs to go back to the early discovery responses.                Over

10:26   24   two years ago, we set forth our equitable claims for

10:26   25   forfeiture and disgorgement, not disgorgement of profits as

                      SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -16 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 15 of 24
                                       Page ID #:181124

                                                                                 14


10:26   1    Mr. Gergely keeps saying.        That's the DePinto case.         The

10:26   2    DePinto case was a shareholder derivative case just like

10:26   3    Ross v. Bernhard.        Those were cases where damages were

10:26   4    sought.

10:26   5                We must make it clear that we know that the

10:26   6    defendant cannot pay any actual damages, and I don't think

10:27   7    there is even a debate.        In fact, their own brief said he

10:27   8    spent all his money.       He has no money.      So even if Sonner

10:27   9    were to apply, there is not an adequate remedy in law to

10:27   10   compensate for damages, so we have dropped the damages

10:27   11   claim.

10:27   12               If there is any dispute about what remedy is

10:27   13   legal, what remedy is equitable, well, just don't give us

10:27   14   any legal remedy.        We will fight for the equitable remedy

10:27   15   only.    So it has no bearing on whether it's a trial by jury.

10:27   16   That will be taken care at the remedy phase.             For that

10:27   17   reason, I don't think the defendant under these

10:27   18   circumstances with no claims against us can insist on a

10:27   19   jury.    It just cannot happen.

10:27   20               THE COURT:     Anything further, Mr. Gergely?

10:27   21               MR. GERGELY:     Your Honor, the breach of fiduciary

10:27   22   duty claim is seeking to quantify harm to Cercacor.               They

10:28   23   can say it's defendant's compensation, but that was part of

10:28   24   their damages theory in their expert report.             Again, it's

10:28   25   still damages.

                      SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                      Exhibit 2
                                                                                          -17 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 16 of 24
                                       Page ID #:181125

                                                                                 15


10:28   1                I think Mr. Re is putting the cart before the

10:28   2    horse.    He is saying we can waive a jury trial and try this

10:28   3    case, and if there are no equitable remedies, you don't have

10:28   4    to give it to us.        I think what we are saying here is that

10:28   5    these are in fact legal issues.

10:28   6                The DePinto case didn't turn on what was the

10:28   7    specific type of money being requested.            I mean, that case

10:28   8    is just unequivocal that if it is a breach of fiduciary case

10:28   9    it's based on an underlying charge of negligence, which is

10:28   10   exactly what is going on here, and we are entitled to a

10:28   11   jury.

10:29   12               THE COURT:     Well, I'm prepared to rule -- do you

10:29   13   want to add something, Mr. Gergely?

10:29   14               MR. GERGELY:     The Sonner case is on all fours.            I

10:29   15   don't think it matters whether it's a diversity case or

10:29   16   there's federal question jurisdiction.           I mean, the claims

10:29   17   at issue here that we are talking about are breach of

10:29   18   fiduciary duty and trade secrets, which are both state law

10:29   19   claims.    The issue is whether there is an adequate remedy at

10:29   20   law.    I think they do have an adequate remedy at law, which

10:29   21   is a reasonable royalty on trade secret misappropriation and

10:29   22   a claim for damages on the breach of fiduciary duty.

10:29   23               Mr. Re is saying, well, my client is essentially

10:29   24   judgment proof, so there is no adequate remedy at law.                But

10:29   25   what they are seeking is in fact an eight-figure judgment

                      SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                      Exhibit 2
                                                                                          -18 -
         Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24    Page 17 of 24
                                      Page ID #:181126

                                                                                 16


10:30   1    against my client for disgorgement, so it logically doesn't

10:30   2    even make sense.

10:30   3                THE COURT:    I'm prepared to rule.        I find that

10:30   4    Masimo has effectively withdrawn all claims that would

10:30   5    support a grant of a jury trial.

10:30   6                With respect to the argument that under 38(d) of

10:30   7    the Federal Rules of Civil Procedure defendants have to give

10:30   8    their consent before plaintiff can withdraw, that no longer

10:30   9    is effective given the absence of any claims that would

10:30   10   support a jury trial.

10:30   11               The law clearly reflects that disgorgement and

10:30   12   damages are two different things, although they may overlap.

10:30   13   And that view is I think most succinctly and most precisely

10:31   14   expressed in California's trade secrets statute at Code of

10:31   15   Civil Procedure -- Cal. Civil Code 3426(3)(a).               "A

10:31   16   complainant may recover damages for the actual loss caused

10:31   17   by misappropriation.      A complainant also may recover for the

10:31   18   unjust enrichment caused by misappropriation that is not

10:31   19   taken into account in computing damages for actual loss."

10:31   20               I believe that as an equitable matter the

10:31   21   plaintiff can recover unjust enrichment or disgorgement.

10:31   22   Disgorgement is clearly an equitable remedy.            And as I have

10:31   23   indicated, I think it's theoretically there.            If at the end

10:31   24   of the day Masimo comes forth with a theory that in fact

10:32   25   turns out to be damages, the award is zero.            So I think as

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                      Exhibit 2
                                                                                          -19 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 18 of 24
                                       Page ID #:181127

                                                                                 17


10:32   1    we go forward it preserves the argument of the defendants

10:32   2    that what is being sought is really damages.             At the end of

10:32   3    the day if that's what I conclude, the result is a zero

10:32   4    dollar award.

10:32   5                A number of other arguments were not really

10:32   6    discussed here, but I have considered them.             I don't believe

10:32   7    the statute of limitations creates a jury trial.               The case

10:32   8    law is fairly clear that whether a jury is entitled or not

10:32   9    is determined by the nature of the claim, not the nature of

10:32   10   the defense.    Moreover, the cases cited by True Wearables

10:32   11   are all state cases dealing with state situations.               I think

10:32   12   that the catalyst case indicates that a breach of fiduciary

10:33   13   duty is not as a matter of law a legal claim.

10:33   14               Accordingly, we are going to proceed with a bench

10:33   15   trial.   As you know, I do bench trials with direct coming in

10:33   16   by way of declaration.       I proposed a schedule at the last

10:33   17   hearing, which I appreciate your reaction.

10:33   18               MR. GERGELY:     Your Honor, with respect to

10:33   19   scheduling, I know it hasn't quite become an issue in

10:33   20   California yet, but in the rest of the country where I live,

10:33   21   the Omicron variant has started exploding.             It's becoming

10:33   22   very problematic.        I'm very concerned about bringing a team

10:33   23   to California and traveling and then being in a courtroom

10:34   24   while this Omicron outbreak is going on.

10:34   25               THE COURT:     Well, sir, we have dealt with that.

                      SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -20 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24    Page 19 of 24
                                       Page ID #:181128

                                                                                  18


10:34   1    We are proceeding in accordance with the CDC

10:34   2    recommendations.      I have conducted three or four criminal

10:34   3    trials during the course of the pandemic, including 26 days

10:34   4    in the Avenatti trial until I had to declare a mistrial.

10:34   5    People were masked.       All the people are socially distanced,

10:34   6    except for witnesses when they were testifying who wore a

10:34   7    shield such as I have on for this hearing.             I think we can

10:34   8    deal with the COVID situation at least as it presently

10:34   9    exists.

10:34   10               MR. GERGELY:     Your Honor, we are getting probably

10:34   11   maybe about 20 percent of what you are saying.                The audio is

10:34   12   fairly poor.

10:34   13               THE COURT:     Hang up and come back in and see if

10:34   14   you can get a better circuit coming in.

10:35   15               MR. GERGELY:     Is everyone else able to hear

10:35   16   besides me?

10:35   17               THE COURT:     I can hear you just fine, sir.

10:35   18               Can you hear me, Mr. Re?

10:35   19               MR. RE:      I can hear you fine, Your Honor.

10:35   20               THE COURT:     Mr. Fletcher?

10:35   21               MR. FLETCHER:      Your Honor, it sounded off and on,

10:35   22   but it seems better now.

10:35   23               THE COURT:     Mr. Fletcher, can you hear me?

10:35   24               MR. FLETCHER:      You were coming in and out before,

10:35   25   but you sound better now.

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -21 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24     Page 20 of 24
                                       Page ID #:181129

                                                                                     19


10:35   1                MR. GERGELY:     I'm hearing you better now.            It was

10:35   2    really choppy before.       I think the issue is we are getting

10:35   3    some feedback from a lot of mics from the computers at

10:35   4    Knobbe Martens.     If might help if everyone would mute

10:35   5    themselves while you are speaking.

10:35   6                THE COURT:     Yes.

10:35   7                I proposed a schedule at the last hearing that led

10:36   8    to a February 1 trial.       At this point, I'm asking what your

10:36   9    reaction is.    I laid out some dates in accordance with the

10:36   10   Court's bench trial order for filing testimony, responsive

10:36   11   testimony, and so on.       What's your reaction to that

10:36   12   schedule?

10:36   13               MR. RE:      If I understood Your Honor, plaintiffs'

10:36   14   statements will be due January 12, defendants' statements

10:36   15   due January 19, and objections due January 27.

10:36   16               MR. GERGELY:     Your Honor, it would be my

10:36   17   preference to push the trial out by at least another 90

10:36   18   days, one, because of travel and COVID issues; and, two, it

10:37   19   gives us more time to prepare.         We were preparing that this

10:37   20   was going to be a jury trial, and now it's going to be by

10:37   21   declarations, which is a lot.        It's substantially more work.

10:37   22               THE COURT:     I will push it 30 days.            We will

10:37   23   proceed to trial on March 1, which I believe is a Tuesday.

10:37   24               THE CLERK:     It is, Your Honor.

10:37   25               MR. GERGELY:     Your Honor, I am supposed to be out

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                          Exhibit 2
                                                                                              -22 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 21 of 24
                                       Page ID #:181130

                                                                                 20


10:37   1    of the country the third week of February and probably --

10:37   2    I'm not looking at my calendar, but I will probably be

10:38   3    getting back right around the 1st.

10:38   4                THE COURT:     Folks are prepared to try this case,

10:38   5    and I don't want to lose the momentum that you already had

10:38   6    heading for a jury trial January 11, so I will push this to

10:38   7    March 15, but that's it.

10:38   8                Now, I believe you have received a copy of my

10:38   9    bench trial order.        Is that so?   If not, we will send it or

10:38   10   send it again.     Could you tell me whether you have received

10:39   11   that order or not, please?

10:39   12               MR. GERGELY:     Your Honor, I believe so, yes, and

10:39   13   I'm aware of that order on your website.

10:39   14               MR. RE:      We have it as well, Your Honor.

10:39   15               THE COURT:     All right.    Then the pretrial

10:39   16   conference date will be three weeks before, whatever that

10:39   17   Monday is -- oh, this is the pretrial conference.               I guess

10:39   18   we don't need it.

10:39   19               If you want to get together and visit on any

10:39   20   additional subjects, we can arrange a conference call, which

10:39   21   seems to be more be effective than Zoom right now.

10:39   22               Any other issues we should take up?

10:39   23               MR. RE:      Yes, Your Honor.     I have one question,

10:39   24   and it did deals with the possibility of a rebuttal case.

10:40   25   And I don't know how witness statements were to be done for

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                       Exhibit 2
                                                                                           -23 -
         Case 8:20-cv-00048-JVS-JDE    Document 2083-3    Filed 08/26/24   Page 22 of 24
                                       Page ID #:181131

                                                                                 21


10:40   1    a rebuttal case, or is a rebuttal case live after we have

10:40   2    had a chance to see the defendants evidence?

10:40   3                THE COURT:     Anticipate doing a rebuttal case live.

10:40   4                MR. RE:      Thank you, Your Honor.

10:40   5                THE COURT:     Now, I think given that the direct is

10:40   6    coming in by declaration that I'm going to set aside six

10:40   7    trial days for cross-examination and any further redirect.

10:40   8    I translate it to a time budget.         I figure we should get

10:40   9    about five-and-a-quarters hours in in a day.             I will round

10:40   10   it up to 16 hours for cross-examination and redirect.

10:41   11               Okay, anything else?

10:41   12               MR. RE:      Nothing for the plaintiff, Your Honor.

10:41   13               MR. GERGELY:     Your Honor, there was an issue that

10:41   14   was raised in the papers with respect to attendance of

10:41   15   client representatives.

10:41   16               THE COURT:     Right.

10:41   17               MR. GERGELY:     Our client representative is likely

10:41   18   Dr. Lamego.    I just want to make sure that he will be able

10:41   19   to attend the trial and listen to all the evidence and that

10:41   20   he won't be excluded in any way, shape, or form from the

10:41   21   trial.

10:41   22               THE COURT:     He is a party.      I don't see how he can

10:41   23   be excluded.

10:41   24               MR. GERGELY:     There is a Protective Order

10:41   25   governing discovery.       I just want to make sure that is not

                      SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                      Exhibit 2
                                                                                          -24 -
         Case 8:20-cv-00048-JVS-JDE   Document 2083-3        Filed 08/26/24    Page 23 of 24
                                      Page ID #:181132

                                                                                     22


10:42   1    going create some sort of impediment.              I understood that was

10:42   2    for discovery.     But now we are actually going to be in

10:42   3    trial, and I just want to make sure it will be okay for him

10:42   4    to attend the trial, and he is not going to have any

10:42   5    Protective Order provisions enforced against him for

10:42   6    attending trial.

10:42   7                THE COURT:    I will enforce the Protective Order

10:42   8    even if he is a party.

10:42   9                MR. GERGELY:    I'm sorry, Your Honor.               I didn't

10:42   10   catch that.

10:42   11               THE COURT:    I will enforce the Protective Order

10:42   12   during the course of trial even if he is a party.

10:42   13               MR. GERGELY:    What does that mean, Your Honor?

10:42   14               THE COURT:    If the examination goes into materials

10:42   15   that he is not authorized to have access to, he will be

10:43   16   excluded from that portion of the proceeding just as any

10:43   17   individual not authorized under the Protective Order to have

10:43   18   access to trade secrets would be.

10:43   19               Any further questions about that, Mr. Gergely?

10:43   20               MR. GERGELY:    No, Your Honor.

10:43   21               THE COURT:    Okay.   Then we are adjourned.              Thank

10:43   22   you.

10:43   23               (Whereupon, the proceedings were concluded.)

10:43   24                                 *    *        *

10:43   25

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                           Exhibit 2
                                                                                               -25 -
         Case 8:20-cv-00048-JVS-JDE   Document 2083-3    Filed 08/26/24   Page 24 of 24
                                      Page ID #:181133

                                                                                23


10:43    1

10:43   2

10:43   3

10:43   4                                 CERTIFICATE

10:43   5

10:43   6                I hereby certify that pursuant to Section 753,

10:43   7    Title 28, United States Code, the foregoing is a true and

10:43   8    correct transcript of the stenographically reported

10:43   9    proceedings held in the above-entitled matter and that the

10:43   10   transcript page format is in conformance with the

10:43   11   regulations of the Judicial Conference of the United States.

10:43   12

10:43   13   Date:   December 21, 2021

10:43   14

10:43   15
10:43                                  /s/   Sharon A. Seffens 12/21/21
10:43   16                             _________________________________
10:43                                  SHARON A. SEFFENS, U.S. COURT REPORTER
10:43   17

        18

        19

        20

        21

        22

        23

        24

        25

                     SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                                                     Exhibit 2
                                                                                         -26 -
